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                                                      Exhibit 6: U.S. Patent No. 7,956,581

Claims                       Identification
10[pre] A method of          To the extent the preamble is limiting, Asus-branded devices practice a method of operating a rechargeable battery
operating a rechargeable     pack, comprising:.
battery pack, comprising::




                             See, e.g., Vivobook 14 M413, Asus, https://shop.asus.com/us/90nb0r77-m00090-vivobook-14-m413.html (last visited
                             Feb. 20, 2024).




                             See, e.g., [Notebook] Battery and Power Adapter (Charger) Specifications and Recommended Usage, Asus (Dec. 8,
                             2023, 16:41), https://www.asus.com/support/faq/1015066/.




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Claims        Identification




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Claims        Identification




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Claims        Identification




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Claims        Identification




              See, e.g., Universal Standard Service, Inc., Test Report IEC 62368-1 at 1, 2, 5, 6, 11, 12, 20, 25, 26 (App. No.
              ASL19082825-003, Mar. 17, 2020) available at
              https://dlcdnets.asus.com/pub/ASUS/nb/X421JQ/Rep_CB62368_X421xyyyyyyyyyyyyyyyyy_M3.pdf.


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Claims        Identification




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Claims        Identification




              See, e.g., Internal Testing.

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Claims                    Identification
10[a] employing a power   Asus-branded devices employ a power cell to supply current.
cell to supply current;




                          See, e.g., Vivobook 14 M413, Asus, https://shop.asus.com/us/90nb0r77-m00090-vivobook-14-m413.html (last visited
                          Feb. 20, 2024).




                          See, e.g., Internal Testing.




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Claims                        Identification
10[b] employing an            Asus-branded devices employ an electronic switch to conduct substantially all of the current passing through the
electronic switch to conduct power cell when the electronic switch is in a conducting condition, and to prevent substantially all of the current from
substantially all of the      passing through the power cell when the electronic switch is in a non-conducting condition;
current passing through the
power cell when the
electronic switch is in a
conducting condition, and to
prevent substantially all of
the current from passing
through the power cell when
the electronic switch is in a
non-conducting condition;




                              See, e.g., Internal Testing (showing a rechargeable battery pack including a PCB including a Texas Instruments
                              BQ40Z50 Li-ion battery pack manager).




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Claims        Identification




              See, e.g., Texas Instruments, Data Sheet: BQ40Z50 1-Series, 2-Series, 3-Series, and 4-Series Li-Ion Battery Pack
              Manager (Nov. 2019) available at https://www.ti.com/lit/ds/symlink/bq40z50.pdf.

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Claims        Identification




              See, e.g., Texas Instruments, bq40z50 Technical Reference (May 2015) available at
              https://www.ti.com/lit/ug/sluua43a/sluua43a.pdf.




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Claims                        Identification
10[c] employing a thermal Asus-branded devices employing a thermal protection circuit to monitor for an overtemperature condition and to cause
protection circuit to monitor the electronic switch to assume the non-conducting condition when the overtemperature condition exists; and provide
for an overtemperature        a negligible current from the power cell to the thermal protection circuit.
condition and to cause the
electronic switch to assume
the non-conducting
condition when the
overtemperature condition
exists; and providing a
negligible current from the
power cell to the thermal
protection circuit.




                             See, e.g., Internal Testing (showing a rechargeable battery pack including a PCB including a Texas Instruments
                             BQ40Z50 Li-ion battery pack manager).




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Claims        Identification




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Claims        Identification




              See, e.g., Texas Instruments, Data Sheet: BQ40Z50 1-Series, 2-Series, 3-Series, and 4-Series Li-Ion Battery Pack
              Manager (Nov. 2019), available at https://www.ti.com/lit/ds/symlink/bq40z50.pdf.




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Claims         Identification




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Claims         Identification




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Claims         Identification




               See, e.g., Texas Instruments, bq40z50 Technical Reference (May 2015) available at
               https://www.ti.com/lit/ug/sluua43a/sluua43a.pdf.




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